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                       UNITED STATES DISTRICT COURT

                            DISTRICT OF NEW MEXICO

STC.UNM,
                                               Civil No. 1:10–cv–01077–RB–WDS
                   Plaintiff,

    v.

INTEL CORPORATION,

                   Defendant.




         I NTEL ’ S O PPOSITION TO STC’ S R ULE 19 M OTION AND R EQUEST FOR
         R ECONSIDERATION OF THE C OURT ’ S S UMMARY J UDGMENT R ULING




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                                           Introduction

       STC’s Rule 19 motion concedes that STC has lacked standing to pursue its patent claims

against Intel since last December and that to proceed it must defy a basic principle of patent law:

that all co-owners of a patent need to join an infringement suit against another party. STC put

itself in this bind. STC had standing as sole owner of the ’998 patent when it filed suit, but the

patent was unenforceable under its terminal disclaimer because the ’321 patent had different

ownership. Desperate to create common ownership and salvage the remaining term of the ’998

patent before it expires in September, STC unilaterally assigned partial ownership in the ’998

patent to Sandia Corporation (“Sandia”). But STC did so at the cost of its standing to sue, and, as

Sandia’s opposition to STC’s motion confirms, Sandia wants no part of this dispute.

       STC thus asks the Court to take one of two steps to enable STC to proceed without

voluntary joinder by its co-owner. Both steps are unprecedented and unwarranted. First, STC

asks the Court to involuntarily join Sandia as a co-plaintiff under Rule 19(a) on the theory that

STC is Sandia’s “exclusive licensee” under the terms of a Commercialization Agreement signed

nearly 2½ years before Sandia became a co-owner. That argument is doubly wrong: (1) as this

Court has already recognized, the Commercialization Agreement was limited to the jointly-

invented ’321 patent, and (2) STC is not Sandia’s exclusive licensee in any event. Second, STC

claims that equity requires the Court to treat Sandia as a dispensable party under Rule 19(b) so

that STC can proceed alone. But equity requires the opposite result. To begin with, Sandia’s

co-ownership is critical to STC’s claim: STC survived summary judgment only because of it.

Moreover, allowing STC to proceed alone would be prejudicial to both Intel and Sandia, and

STC still has an alternate route by which it can regain standing and avoid unenforceability.


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       STC’s motion also seeks reconsideration of the Court’s summary judgment ruling, but

that request should be denied for two reasons. First, STC’s motion is improper because the

supposedly “new” evidence it cites (information from Sandia lawyer Kevin Bieg about events in

the 1990s) was available during the summary judgment briefing. STC attended Mr. Bieg’s

deposition last year and could have obtained testimony or a declaration on these topics then.

Second, STC’s latest co-ownership theory still fails because there was no Sandia co-inventor on

the ’998 patent. STC argues that the Department of Energy (DOE) automatically took title to the

’998 patent under the Atomic Energy Act and then awarded title to Sandia and UNM jointly. But

the statutory title-allocation provisions apply only to inventions by federal contractors. STC

concedes, and the Court has found, that Sandia’s Bruce Draper was not a co-inventor of the ’998

patent. As a result, DOE—like Mr. Draper—had no rights in the ’998 patent and could not and

did not assign such rights to Sandia. As a matter of law, Sandia had no interest in the ’998 patent

before December 2011, when it received the unsolicited assignment from STC.

       In short, the Court correctly granted summary judgment that the ’998 patent was

unenforceable before December 1, 2011, and STC lacks standing to sue for infringement since

then without voluntary joinder by Sandia. Because Sandia has made clear that it will not join

voluntarily, Intel has filed a cross-motion to dismiss STC’s remaining claims and end this case.

                                           Background

       The PTO allowed the ’998 patent subject to a terminal disclaimer stipulating that the

patent would be enforceable only while it and the ’321 patent were commonly owned. [See Doc.

179–5] Sandia National Laboratories has co-owned the ’321 patent ever since that patent issued

because Bruce Draper was a co-inventor along with three UNM employees. It is uncontested,


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however, that Mr. Draper did not co-invent the ’998 patent. Instead, all four co-inventors of the

’998 patent were UNM employees. As a result, UNM solely owned the ’998 patent once it

issued, and STC (UNM’s wholly-owned licensing arm) succeeded to UNM’s 100% ownership

interest in 2007. Despite the lack of common ownership and resulting unenforceability, STC

sued to enforce the ’998 patent against numerous companies, including Intel.

       When discovery last fall confirmed the continuing lack of common ownership, Intel

promptly raised unenforceability as a defense. In response, STC took two tacks. First, despite

having repeatedly asserted sole ownership to the PTO, ITC, courts, and alleged infringers, STC

suddenly reversed course and claimed that Sandia had always co-owned the ’998 patent. Second,

recognizing the untenability of that position, STC unilaterally assigned a share of the ’998 patent

to Sandia on December 1, 2011, in an effort to salvage the remaining 10 months of the patent’s

term. [Doc. 179–31] STC did not secure Sandia’s agreement to join as a plaintiff in this lawsuit

before the assignment, however, and since then Sandia has maintained a neutral stance and

refused to join STC’s claim. Although STC could resolve both its standing and enforceability

problems by acquiring sole ownership of both the ’998 and ’321 patents, STC has not done so.

       Earlier this year, Intel moved for summary judgment of unenforceability of the ’998

patent. In its summary judgment ruling [Doc. 206], this Court held as a matter of law that Sandia

did not co-own the ’998 patent before December 1, 2011, that the ’321 and ’998 patents thus

lacked common ownership before that date, and that the ’998 patent was therefore unenforceable

before that date. Based on the existing record, however, the Court could not tell whether Sandia

National Laboratories (the long-time co-owner of the ’321 patent) and Sandia Corporation (the

new co-owner of the ’998 patent) were the same entity, and thus could not yet determine the


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enforceability of the ’998 patent from December 1, 2011, forward.1

       At the end of its decision, the Court recognized that Sandia’s current co-ownership of the

’998 patent raised a standing problem for STC because Sandia is not a plaintiff in this case and

as a general rule, “‘[a]bsent the voluntary joinder of all co-owners of a patent, a co-owner acting

alone will lack standing.’” [Id. at 22 (quoting Israel Bio-Eng’g Project v. Amgen, Inc., 475 F.3d

1256, 1264–65 (Fed. Cir. 2007))] The Court encouraged the parties to confer and file appropriate

motions regarding standing [id.], and later ordered the parties to report on the status of the

standing issue by June 1, 2012 [Doc. 212]. STC reported on that date that it had been unable to

reach any agreement with Sandia and that it planned to file its current motion requesting relief

allowing it to proceed with this case despite Sandia’s refusal to join voluntarily.

       To fix its standing problem, STC asks the Court either to join Sandia as an involuntary

plaintiff under Rule 19(a) or to ignore Sandia’s absence by deeming it a necessary-but-

dispensable party under Rule 19(b). Trying to relitigate summary judgment, STC further urges

the Court to adopt a new (third) theory that Sandia has always co-owned the ’998 patent on the

ground that the Department of Energy (DOE) implicitly granted both UNM and Sandia title to

the ’998 patent when awarding them title to the ’321 patent. As explained below, each of STC’s

arguments is wrong, and the time is ripe for the Court to put this case to an end.

                                             Argument

I.     STC C ANNOT I NVOLUNTARILY J OIN S ANDIA U NDER R ULE 19(a)

       Patent law normally requires voluntary joinder of all co-owners in order to sue a third


       1
        Enforceability after December 1, 2011, remains an open issue, but for purposes of this
motion Intel will assume (without conceding) that the two Sandia entities are the same. Neither
STC’s motion nor Intel’s cross-motion to dismiss requires resolution of that point.

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party for infringement. STC purports to invoke a narrow exception allowing a patent owner’s

exclusive licensee to join the owner as a co-plaintiff against its will, but that exception does not

apply because STC is a co-owner of the ’998 patent, not Sandia’s exclusive licensee.

       A.      Patent Law Generally Requires Voluntary Joinder of All Patent Co-Owners

       The Federal Circuit has repeatedly recognized that “as a matter of substantive patent law,

all co-owners must ordinarily consent to join as plaintiffs in an infringement suit” and that “‘one

co-owner has the right to impede the other co-owner’s ability to sue infringers by refusing to

voluntarily join in such a suit.’” Ethicon, Inc. v. U.S. Surgical Corp., 135 F.3d 1456, 1468 (Fed.

Cir. 1998); see also Israel Bio-Engineering, 475 F.3d at 1264 (each co-owner of a patent “‘has

the right to limit the other co-owner’s ability to sue infringers by refusing to join voluntarily in

[a] patent infringement suit’”). Because one co-owner can unilaterally prevent another co-owner

from suing, “patent co-owners are ‘at the mercy of each other.’” Ethicon, 135 F.3d at 1468.

       The Federal Circuit recently reaffirmed this principle in DDB Technologies, L.L.C. v.

MLB Advanced Media, 517 F.3d 1284 (Fed. Cir. 2008), holding that, in general, “Rule 19 does

not permit the involuntary joinder of a patent co-owner in an infringement suit brought by

another co-owner.” Id. at 1289 n.2.

       B.      STC Cannot Compel Sandia to Join Because STC
               Is Not the Exclusive Licensee of the ’998 Patent

       The Federal Circuit has recognized only two narrow situations in which an owner may be

forced to join a suit involuntarily. Ethicon, 135 F.3d at 1468 n.9. First, an owner can be forced to

join when it has granted the plaintiff an exclusive license, because equity forbids a licensor-

owner from nullifying that exclusivity by refusing to join the licensee’s infringement suit. Indep.

Wireless Tel. Co. v. Radio Corp. of Am., 269 U.S. 459, 469 (1926). Second, an owner can be

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forced to join a suit if the owner has contractually waived its right to refuse to join. Willingham

v. Lawton, 555 F.2d 1340, 1344–45 (6th Cir. 1977). STC concedes that Sandia never waived its

right to refuse to join this suit, so it strains to invoke the exception for exclusive licensees.

        In particular, STC contends that Sandia, through a Commercialization Agreement dated

June 22, 2009, made STC the exclusive licensee of the ’998 patent. That argument fails because

(1) as this Court pointed out in its summary judgment order, the Commercialization Agreement

applies only to the ’321 patent, not to the ’998 patent; and (2) the Commercialization Agreement

does not make STC the exclusive licensee of any patent. Notably, Sandia’s opposition to STC’s

motion fully concurs with this view of the contract, to which Sandia is a party. [Doc. 224 at 3–9]

                1.      The June 22, 2009, Commercialization Agreement
                        Between STC and Sandia Does Not Cover the ’998 Patent

        In its summary judgment order, this Court recognized that STC and Sandia “did not enter

into any Commercialization Agreement regarding [the] ’998 [patent] … as STC considered itself

the owner of a 100% interest in that patent.” [Doc. 206 at 5] STC ignores that finding. But even

if the issue were open for reconsideration, the Commercialization Agreement was plainly limited

to the ’321 patent, which was jointly invented by UNM and Sandia employees and jointly owned

by STC and Sandia. It did not cover the ’998 patent, which was a UNM-only invention that

Sandia now co-owns only as a result of STC’s litigation-inspired gift more than two years later.2

        The origins of the Commercialization Agreement make clear that it was not designed to

apply to inventions made solely by UNM employees, such as the ’998 patent. By its terms, the


        2
         The only variant of STC’s argument not already considered in connection with the
summary judgment motion is STC’s paradoxical notion that its December 1, 2011, assignment to
Sandia somehow converted the June 22, 2009, Commercialization Agreement into a contract that
covers the ’998 patent as well. As discussed below, that argument makes no sense.

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Commercialization Agreement was adopted pursuant to a 2006 Sandia–STC–UNM

Memorandum of Understanding on Intellectual Property (“MOU”). [See Doc. 218–6

(Commercialization Agreement) preamble] The scope of the MOU was expressly limited to

intellectual property jointly developed and therefore jointly owned by Sandia and UNM/STC.

The MOU “set[ ] forth certain understandings … regarding patenting, licensing, and royalty

sharing of certain inventions and works of authorship that are jointly owned by Sandia and

UNM.” [Doc. 218–5 preamble] It specifically defined “Jointly-Owned Intellectual Property” as

“Intellectual Property that arises from a Subject Invention.” [Id. ¶ 1(g)] “Subject Invention,” in

turn, was defined as any invention “created, conceived or first actually reduced to practice”

according to an arrangement described in § 2 of the MOU. [Id. ¶ 1(a)] Section 2 listed “Subject

Inventions created by both Sandia agents and UNM agents” and “Subject Inventions created by

individuals who are Joint Appointees” (meaning “employed and paid part-time by Sandia and

part-time by UNM”). [Id. ¶ 2 (emphasis added); see id. ¶ 1(d) (defining “Joint Appointee”)]

       The text of the Commercialization Agreement further confirms that it covered the ’321

patent jointly invented by Sandia’s Bruce Draper, and not the ’998 patent on which only UNM

employees were inventors. The Commercialization Agreement’s Background section made clear

that the INTELLECTUAL PROPERTY covered was intellectual property to which Draper and

Sandia contributed. It recited that

               One inventor (Draper) was an employee of SANDIA at the time of
               development of the INTELLECTUAL PROPERTY whose
               contributions to the INTELLECTUAL PROPERTY is considered
               to be entirely SANDIA

[Doc. 218–6 Background ¶ 1] and that



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               Three inventors (Brueck, Zaidi and Chu) were employees of UNM
               at the time of development of the INTELLECTUAL PROPERTY
               whose contributions to the INTELLECTUAL PROPERTY are
               considered to be entirely STC

[Id. Background ¶ 2] The list of inventors (Draper, Brueck, Zaidi, and Chu) matched the

inventorship of the ’321 patent exactly. [See Doc. 179–24] By contrast, the list of inventors of

the ’998 patent was very different: it included UNM employees Hersee and Malloy in addition to

Brueck and Zaidi, but excluded both Chu and Draper. [See Docs. 179–10, 179–11]

       The Background of the Commercialization Agreement went on to note that

               The U.S. Government has Government Use Rights in all works of
               authorship created and inventions conceived or first actually
               reduced to practice by SANDIA and SANDIA employees. The
               Parties agree to ensure that all interested parties are availed [of] the
               Government[’]s Use Rights for such intellectual properties on
               contracts from the Government.

[Doc. 218–6 Background ¶ 3] That discussion of government use rights applies to the ’321

patent, to which Sandia employee Draper contributed, but it does not apply to the ’998 patent,

which no Sandia employee co-invented.

       Furthermore, when the Commercialization Agreement defined the INTELLECTUAL

PROPERTY it covered, it recited the ’321 patent but not the ’998 patent:

               Technology was disclosed to STC on September 20, 1993 in
               SD–5308 (Sandia)/UNM–322 (STC)
               U.S. Issued Patent No. 5,705,321 issued on January 6, 1998
               Title: “Method for Manufacture of Quantum Sized Periodic
               Structures in Si Materials”
               Inventors: Steven R.J. Brueck, Saleem H. Zaidi, An-Shyang Chu,
               and Bruce L. Draper.

[Id. Intellectual Property ¶ 1] This bibliographic description matches the ’321 patent perfectly,

and it does not fit the ’998 patent. The inventions claimed in the ’998 patent were not disclosed

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by Sandia to STC in September 1993. The ’998 patent is not the ’321 patent issued in 1998. The

’998 patent has a different title (“Method and Apparatus for Extending Spatial Frequencies in

Photolithography Images”). And neither Chu nor Draper co-invented the ’998 patent.

       Exhibit A to the Commercialization Agreement further confirms that the Agreement is

limited to the ’321 patent. Exhibit A allocates 90% of the commercialization proceeds according

to the number of inventors that each party provided. Consistent with the ’321 patent, Exhibit A

says there were three UNM inventors and one Sandia inventor, entitling STC to 77.5% and

Sandia to 22.5% of revenues. [Doc. 218–6 Ex. A] Such an allocation of revenues would be

inappropriate for the ’998 patent, which has no Sandia inventors, or for a combination of the

’321 and ’998 patents, which have, in total, one Sandia inventor and five UNM inventors.3

       Sandia is thus entirely correct that “STC’s arguments concerning the Commercialization

Agreement rest on an unwarranted extension of the scope of the Commercialization Agreement,

and a strained interpretation of the Agreement’s language.” [Doc. 224 at 4] Indeed, it is

nonsensical to think STC and Sandia meant the Commercialization Agreement to cover the ’998

patent. No Sandia employee was a co-inventor, and Sandia had no ownership interest in the ’998

patent until over two years later, when STC gave Sandia an interest in a belated effort to render

the ’998 patent enforceable. Notably, the Commercialization Agreement was dated after the

December 2008 Certificate of Correction in which the PTO, at STC’s behest, designated the ’998

patent a continuation-in-part of the ’321 patent. [See Doc. 179–13 (Certificate of Correction)] If

STC and Sandia had meant the Commercialization Agreement to cover the ’998 patent as well as

the ’321 patent (as a result of the Certificate of Correction or otherwise), they would have said
       3
        Consistent with this, STC’s discovery responses throughout this case have identified no
evidence that STC has shared any ’998-patent-related revenue with Sandia.

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so. And if STC and Sandia had intended the December 2011 assignment to expand the

Commercialization Agreement and encumber Sandia’s new interest in the ’998 patent, they

would have agreed to amend the Commercialization Agreement to reflect that. They did not.

       STC’s contrary arguments cannot withstand scrutiny.

       The Referenced Docket Numbers Do Not Include the ’998 Patent.

       STC first argues (at 4) that the Commercialization Agreement could not have been

limited to the ’321 patent because the definition of “Intellectual Property” also mentioned

“UNM–322/SD–5308.” But UNM–322 and SD–5308 were merely the docket numbers that

UNM and Sandia assigned for the jointly-developed invention that became the ’321 patent. [See

Ferrall Decl. Ex. 1 (1993 patent disclosure); Doc. 218–1] UNM has a different docket number,

UNM–482, for the solely-UNM invention that became the ’998 patent [see Doc. 179–8], and that

number appears nowhere in the Commercialization Agreement. (Sandia has no docket number

for the ’998 patent because no Sandia employee was an inventor.) STC suggests that the parties

must have meant the docket numbers to cover more than just the ’321 patent because otherwise

the docket information would be duplicative. But the Commercialization Agreement followed

the form specified in Exhibit A to the MOU, which directed the parties to describe “JOINTLY-

OWNED INTELLECTUAL PROPERTY” by technology disclosure date, title, inventors, and

patents/patent applications. [See Doc. 218–5 at 10 of 14] Moreover, the MOU made clear that

commercialization agreements were limited to jointly owned, jointly invented property. The ’998

patent was not jointly invented, and it was not jointly owned by Sandia until December 1, 2011.

       Defined “INTELLECTUAL PROPERTY” Was Limited to the ’321 Patent.

       STC’s observation (at 4) that the Commercialization Agreement uses the term


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“INTELLECTUAL PROPERTY” also misses the mark. The Agreement defined the covered

INTELLECTUAL PROPERTY as the ’321 patent invented by Brueck, Zaidi, and Chu of UNM

and Draper of Sandia, and it recited those inventors’ contributions to the INTELLECTUAL

PROPERTY in the Background section. Draper and Chu did co-invent the ’321 patent, but they

did not co-invent the ’998 patent. UNM’s Hersee and Malloy co-invented the ’998 patent, but

they were nowhere mentioned in the Commercialization Agreement. Contrary to STC’s

suggestion, the covered INTELLECTUAL PROPERTY was not anything remotely related to the

’321 patent; it was the ’321 patent itself. [See also Doc. 224 (Sandia Opp.) at 5 (agreeing)]

       STC’s “PATENTING LEAD” Responsibilities Are Irrelevant.

       STC’s arguments (at 5–6) regarding STC’s responsibilities as “PATENTING LEAD”

also fail to suggest any extension to the ’998 patent. STC contends it would make no sense to

limit the INTELLECTUAL PROPERTY to the ’321 patent because STC and Sandia agreed that

STC would be responsible prospectively for patenting, prosecution, or other protection of the

INTELLECTUAL PROPERTY. To begin with, this too was form language taken from the 2006

MOU, which was limited to jointly-developed, jointly-owned intellectual property. [Compare

Doc. 218–6 Responsible Party ¶ 1 with Doc. 218–5 at 10 of 14] Further, the fact that a patent has

already issued does not eliminate the need to take actions to protect the invention. For example,

patentees must pay periodic maintenance fees to keep a patent in force, see 35 U.S.C. § 41(b),

and they may need to seek reissue of a “defective” patent, see 35 U.S.C. § 251, petition to correct

mistakes, see 35 U.S.C. § 254, 255, petition to correct named inventors, see 35 U.S.C. § 256, and

so forth. Patentees may also need to take actions before foreign patent offices. Sandia and STC

agreed to allocate such responsibilities to STC as to the ’321 patent (and reimburse STC from


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licensing proceeds), but that allocation provides no reason to infer that the Commercialization

Agreement covered the distinct and substantially different invention claimed in the ’998 patent.

       The ’998 Patent Assignment Was Unrelated to the Commercialization Agreement.

       STC next argues (at 6) that its December 2011 assignment to Sandia somehow itself had

the effect of bringing the ’998 patent within the scope of the Commercialization Agreement.

STC’s reasoning is flawed. The Commercialization Agreement covered commercialization of the

’321 patent, and it nowhere purported to cover patents on other inventions that were not jointly

developed merely because those patents later became jointly owned for other reasons. If STC

wanted to add the ’998 patent to the Commercialization Agreement after the December 2011

Assignment, STC needed to obtain Sandia’s agreement to amend and broaden the

Commercialization Agreement. STC did not. It is absurd to suggest, as STC does, that the

December 2011 assignment acted as a time machine that magically added the ’998 patent to the

scope of the Commercialization Agreement without any joint agreement to such an expansion.

       Draper’s Non-Contribution to the ’998 Invention Is Critical.

       STC argues (at 6) that Draper’s lack of inventorship of the ’998 patent is irrelevant

because STC and Sandia supposedly understood that the covered INTELLECTUAL

PROPERTY included inventions that each party considered entirely its own. But STC offers no

evidence of any such intent, Sandia says otherwise in its opposition to STC’s motion, and the

agreements align with Sandia’s understanding. As discussed above, the MOU was limited to

jointly-developed, jointly-owned intellectual property. Moreover, the very paragraphs of the

Commercialization Agreement “Background” section that STC cites make clear that Draper,

Brueck, Zaidi, and Chu all participated in creating the covered INTELLECTUAL PROPERTY.


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The point of the two paragraphs was to explain why both parties had an interest in that

INTELLECTUAL PROPERTY: Sandia through Draper, and STC through Brueck, Zaidi, and

Chu. Draper’s lack of inventorship of the ’998 patent is not only relevant; it is fatal to STC’s

claim that the Commercialization Agreement covers that patent.

       Sandia’s 1994 Letter Was Limited to Inventions Made by Sandia Employees.

       STC next argues (at 6) that interpreting the Commercialization Agreement to cover the

’998 patent is consistent with a 1994 letter from Sandia to UNM. In fact, the 1994 letter further

undermines STC’s argument. It stated that “Sandia is proceeding with a waiver of title request

with DOE” and that “[o]nce Sandia receives title, Sandia will enter into an agreement with UNM

to allow UNM to be the exclusive licensing agent for the invention.” [Doc. 218–4] The letter

thus made clear that “the invention” of which UNM would be the exclusive licensor was an

invention to which the Department of Energy (DOE) had to waive title. DOE had to waive title

as to the ’321 patent because Sandia’s Draper co-invented that patent. By contrast, DOE had no

title in the ’998 patent to waive because Draper was not an inventor on that patent.

       The Commercialization Agreement Was Limited to One Joint Invention.

       Finally, STC contends (at 7) that the Commercialization Agreement “covers all patents

originating from the inventions created by all four inventors, whether made individually, or

together.” But the Agreement says no such thing. As discussed above, it was plainly limited to

one patent covering a particular invention jointly made by Brueck, Zaidi, Chu, and Draper, not

another patent on a different, later invention by Brueck, Zaidi, and two other UNM employees.

       In sum, STC’s argument that it can compel Sandia to join under the “exclusive licensee”

exception to the normal standing rules fails at the outset because the contract that supposedly


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conveyed that status (the Commercialization Agreement) does not extend to the ’998 patent.

               2.      Even If the Commercialization Agreement Extended to the ’998
                       Patent, It Did Not Make STC the Exclusive Licensee of Sandia

        Even if the Commercialization Agreement could be read to cover the ’998 patent, the

Commercialization Agreement does not make STC Sandia’s exclusive licensee. STC is a

co-owner of the ’998 patent, not a licensee of any kind. What is more, the rationale for allowing

an exclusive licensee to join an owner involuntarily does not apply here.

        The exclusive licensee exception originated in Independent Wireless Telegraph Co. v.

Radio Corporation of America, 269 U.S. 459 (1926), in which the Supreme Court held that

equity requires allowing an exclusive licensee to join its licensor/patent owner involuntarily

because the owner effectively holds its patent “in trust” for its exclusive licensee and must not

deprive that licensee of the exclusivity it bargained for by refusing to join an infringement suit:

               [T]he owner of a patent, who grants to another the exclusive right
               to make, use, or vend the invention, which does not constitute a
               statutory assignment, holds the title to the patent in trust for such a
               licensee, to the extent he must allow the use of his name as
               plaintiff in any action brought at the instance of the license in law
               or in equity to obtain damages for the injury to his exclusive right
               by an infringer, or to enjoin infringement of it.

Id. at 469.

        When Rule 19 was adopted in 1937, the drafters followed Independent Wireless and

recognized that a party may be involuntarily joined “in a proper case.” See Fed. R. Civ. P. 19

committee note on 1937 adoption. Which cases are “proper” for involuntary joinder depends on

substantive law, however. And in the patent context, they remain limited to those in which the

plaintiff is an exclusive licensee and the party to be joined involuntarily is the patent owner. See,

e.g., Abbott Labs. v. Diamedix Corp., 47 F.3d 1128, 1133 (Fed. Cir. 1995).

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       STC plainly is not Sandia’s exclusive licensee of the ’998 patent. By definition, an

“exclusive licensee” is a non-owner whom the owner has granted both (1) rights to practice

(make, use, sell, etc.) the invention and (2) the right to exclude others from practicing the

invention. See, e.g., Independent Wireless, 269 U.S. at 469 (referring to an exclusive licensee as

one who has “the exclusive right to make, use, or vend the invention” and has not received a

statutory assignment making it an owner); Rite-Hite Corp. v. Kelley Co., 56 F.3d 1538, 1552

(Fed. Cir. 1995) (en banc) (“To be an exclusive licensee for standing purposes, a party must have

received, not only the right to practice the invention within a given territory, but also the

patentee’s express or implied promise that others shall be excluded from practicing the invention

within that territory.”) (citing Independent Wireless). Here, STC was the sole owner of the ’998

patent from the time UNM assigned its original ownership rights to STC until December 1, 2011.

On that date, STC transferred partial ownership to Sandia, but STC still remained a co-owner.

Sandia has never held the ’998 patent “in trust” for STC, as Independent Wireless requires.

       Contrary to STC’s contention (at 3), nothing in the Commercialization Agreement

purported to convert STC into Sandia’s exclusive licensee of the ’998 patent (or any other

patent). As a patent owner, STC did not need a license from Sandia: it already had the right to

practice its patents and the right to exclude others from practicing the claimed inventions

(assuming patent validity and agreement of any co-owners). Moreover, STC points to nothing in

the Commercialization Agreement that conveyed to STC the sole right to practice in any field or

location, much less the right to exclude others from doing so without Sandia’s consent.

       STC observes (at 3) that the Commercialization Agreement made STC the

“PATENTING LEAD” and “LICENSING PARTY,” but STC never explains how that allocation


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of responsibilities could make STC Sandia’s exclusive licensee. And it did not. The

PATENTING LEAD is merely responsible for securing intellectual property protection. [Doc.

218–6 Responsible Party ¶ 1] It does not have the sole right to practice in any field or location or

to exclude others from doing so. STC was also designated the LICENSING PARTY, and as such

STC may be the exclusive licensor of covered INTELLECTUAL PROPERTY because Sandia

agreed to refrain from licensing the INTELLECTUAL PROPERTY and to refer licensing

inquiries to STC. [Id. Responsible Party ¶ 3] But an exclusive licensor and an exclusive licensee

are different things. Again, the Commercialization Agreement did not change STC’s right to

practice any covered patent, and it did not give STC any greater right to exclude others from

practicing. In particular, although Sandia made STC its licensing agent, Sandia did not surrender

its right to decide whether to join a suit against third parties that decline to pay for a license.

        Furthermore, the policies that animated the Supreme Court’s decision in Independent

Wireless do not apply in this context. The Court’s logic was that as a matter of equity, a patent

owner should not be allowed to grant a party the right to practice to the exclusion others and then

negate the conveyed exclusivity by refusing to join an infringement suit. 269 U.S. at 468–69.

That logic does not apply to a situation involving co-owners. Absent a contractual waiver, a

co-owner may practice a patented invention “without the consent of and without accounting to

the other owners.” 35 U.S.C. § 261. And absent a contractual waiver, “‘one co-owner has the

right to impede the other co-owner’s ability to sue infringers by refusing to voluntarily join in

such a suit.’” Ethicon, 135 F.3d at 1468. Sandia made no such waivers here, and it is acting

entirely legally and equitably in exercising its right not to join this infringement lawsuit.




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II.    E QUITY D OES N OT A LLOW STC TO I NVOKE R ULE 19(b) AND T REAT S ANDIA ,
       W HICH STC I TSELF B ROUGHT INTO T HIS D ISPUTE , AS A D ISPENSABLE P ARTY

       Tacitly recognizing that involuntary joinder under Rule 19(a) is improper, STC’s primary

argument is that even though STC injected Sandia into this dispute to avoid summary judgment

of unenforceability, the Court should deem Sandia a dispensable party under Rule 19(b) and let

STC proceed despite Sandia’s joint ownership rights in the ’998 patent. As a matter of law,

however, each co-owner is ordinarily indispensable to a patent infringement lawsuit. No

extraordinary circumstances in this case warrant proceeding without Sandia. In fact, the

extraordinary circumstances resulting in Sandia’s involvement were of STC’s own creation, to

avoid complete summary judgment of unenforceability, and thus dictate exactly the opposite

result. Proceeding without Sandia also poses risks of prejudice to both Sandia and Intel.

       In Independent Wireless, the Supreme Court recognized that “[t]he presence of the owner

of the patent as a party is indispensable, not only to give jurisdiction under the patent laws, but

also in most cases to enable the alleged infringer to respond in one action to all claims for

infringement….” 269 U.S. at 468 (emphasis added). Case law makes clear that all co-owners—

the entire ownership interest—must be present. See, e.g., Moore v. Marsh, 74 U.S. 515, 520–21

(1868) (“[W]here [an] assignment is of an undivided part of the patent, the action should be

brought for every infringement committed subsequent to the assignment, in the joint names of

the patentee and assignee, as representing the entire interest.”); Israel Bio-Engineering Project,

475 F.3d at 1265 (“Where one co-owner possesses an undivided part of the entire patent, that

joint owner must join all the other co-owners to establish standing.”). That has to be so, not only

to protect accused infringers from harassment by multiple co-owners, but also to protect other

co-owners against, for example, a judgment invalidating claims or adverse claim constructions.

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       Tellingly, STC cites no cases holding that a co-owner of a patent was dispensable under

Rule 19(b). STC cites A123 Systems, Inc. v. Hydro-Quebec, but there the Federal Circuit agreed

with a district court that a field-of-use licensee could not invoke Rule 19(b) and sue without the

patent owner. 626 F.3d 1213, 1220–22 (Fed. Cir. 2010). In cases involving multiple owners,

courts have routinely rejected plaintiff co-owners’ contentions that they can invoke Rule 19(b)

and proceed without joinder of their co-owners. See Bushnell, Inc. v. Brunton Co., 659 F. Supp.

2d 1150, 1164–65 (D. Kan. 2009) (holding that a co-owner’s right to refuse to join an

infringement suit both precluded involuntary joinder under Rule 19(a) and rendered the co-owner

indispensable under Rule 19(b); case dismissed); A10 Networks, Inc. v. Brocade Commc’ns Sys.,

Inc., No. 5:11–CV–05493–LHK, 2012 WL 1932878, *10–11 (N.D. Cal. May 29, 2012)

(granting motion to dismiss and finding absent co-owners indispensable parties due to potential

prejudice to them and danger that defendant would be subject to multiple lawsuits).

       Intel is aware of only two cases in which the Federal Circuit has deemed co-owners

dispensable under Rule 19(b), and both involved unusual facts far removed from those here. Dow

Chemical Co. v. Exxon Corp., 139 F.3d 1470 (Fed. Cir. 1998), held that the nominal patent

owner, Exxon Chemical Patents, Inc., was dispensable because its parent corporation, Exxon

Corporation, was a party and had both the legal duty and capability of protecting its wholly-

owned subsidiary’s interest. Id. at 1479. Likewise, in Dainippon Screen Manufacturing Co. v.

CFMT, Inc., 142 F.3d 1266 (Fed. Cir. 1998), the nominal patent owner was merely a holding

company, and the Federal Circuit (in dictum) deemed it dispensable because its interests were

well protected by its parent, which was present in the case. Id. at 1272–73.




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       In this case, Sandia is an independent co-owner, not a subsidiary of STC, and no

extraordinary factors justify allowing STC to proceed without Sandia as a party. To the contrary,

an analysis under Rule 19(b) makes clear that the remnants of STC’s suit must be dismissed.

       Rule 19(b) provides that if a required party cannot be joined, “the court must determine

whether, in equity and good conscience, the action should proceed among the existing parties or

should be dismissed.” The rule lists four non-exclusive factors for the court to consider:

               (1) the extent to which a judgment rendered in the person’s
               absence might prejudice that person or the existing parties;
               (2) the extent to which any prejudice could be lessened or avoided
               by:
                         (A) protective provisions in the judgment;
                         (B) shaping the relief; or
                         (C) other measures;
               (3) whether a judgment rendered in the person’s absence would be
               adequate; and
               (4) whether the plaintiff would have an adequate remedy if the
               action were dismissed for nonjoinder.

Fed. R. Civ. P. 19(b).

       As to the first factor, any judgment rendered in Sandia’s absence would likely prejudice

Sandia, Intel, or both. For example, if this Court were to invalidate any claims, Sandia would be

unable to sue other defendants on those claims. Even if the claims survived, stare decisis and the

need to join STC in future cases would effectively bind Sandia to adverse claim constructions. If

Sandia were not bound by this Court’s judgment, then Intel would be prejudiced because Sandia

would be free to sue it a second time for the same conduct. Indeed, allowing STC to proceed

without Sandia would expose Intel to risks of harassment from multiple sources that the common

ownership requirement of the terminal disclaimer was designed to prevent in the first place. See



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In re Fallaux, 564 F.3d 1313, 1319 (Fed. Cir. 2009) (citing “harassment by multiple assignees”

as a reason for double-patenting rejections). To top it off, it would be highly unfair to Intel to let

STC survive summary judgment of unenforceability by unilaterally assigning co-ownership

rights to Sandia, but then turn around and treat Sandia’s presence in this case as insignificant.

        STC’s counterarguments on this point are counterfactual. STC asserts (at 8) that

“Sandia’s refusal to join in the suit clearly indicates that it has no interest in defending the

validity of the patent or any interest in the outcome of the infringement issue” and that “Sandia

has made it clear that it has no intention to pursue an action against Intel.” But neither assertion

is true. Sandia simply “prefers to take a neutral position with respect to this matter.” [Doc. 224 at

2] STC cites no evidence that Sandia has disavowed any interest in pursuing infringement claims

against other parties, or that Sandia has waived any ability to assert the ’998 patent against Intel

at some point in the future. Furthermore, Sandia may want to sell its interest, and an invalidity

finding or narrow claim construction would greatly diminish, if not destroy, the value of that

interest. In any event, STC fails to explain why the Court should disregard the absence of the

very party that STC inserted into this dispute in order to survive summary judgment.

        As to the second factor, STC has proposed no way to lessen or avoid the potential

prejudice to Sandia and Intel. And any restriction that mitigated the prejudice to Sandia (such as

a ruling that Sandia is not bound by the outcome) would end up prejudicing Intel.

        As to the third factor, a judgment would not be “adequate” if Sandia were not a party and

not bound by the judgment. In this context, “adequacy refers to the ‘public stake in settling

disputes by wholes, whenever possible.’” Republic of Philippines v. Pimentel, 553 U.S. 851, 870

(2008). The dispute will not be wholly resolved if Sandia is not bound by the judgment.


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       As to the fourth factor, STC does, in its words (at 8) “have an alternate route to pursue

the infringement claim.” STC was the sole owner of the ’998 patent and had standing to sue

alone until December 2011, when it assigned a partial interest to Sandia. STC could regain

standing to sue by reacquiring Sandia’s interest in the ’998 patent, and it could solve its

unenforceability problem by acquiring full ownership of the ’321 patent as well. Of course, STC

presumably would have to pay to acquire those rights. But STC should have paid to fix these

problems a long time ago, before going to court and suing numerous parties on the ’998 patent.

       Finally, although STC portrays itself (at 8) as a victim of circumstances, the Court should

bear in mind that STC has only itself and its parent, UNM, to blame for its current predicament.

UNM voluntarily executed the terminal disclaimer and accepted the common ownership

condition to obtain the ’998 patent. UNM or STC could have bought out Sandia’s interest in the

’321 patent to ensure enforceability, but they did not. Instead, UNM assigned its interests to

STC, and STC began suing to enforce the ’998 patent even though it was plainly unenforceable

under the terminal disclaimer. Moreover, no one compelled STC to assign an interest in the ’998

patent to Sandia once Intel raised the unenforceability problem last fall. Even then, STC could

have solved that problem by buying Sandia’s interest in the ’321 patent, but it did not. Instead,

desperate to keep this lawsuit alive and not wanting to incur any expense, STC voluntarily and

unilaterally assigned an interest in the ’998 patent to Sandia without bothering to check whether

Sandia was willing to participate. STC can hardly claim that “equity and good conscience”

require extraordinary judicial relief here.4


       4
         STC also argues that the Court should invoke Rule 19(b) to protect Sandia’s “quasi-
governmental” neutrality. As Sandia’s opposition shows, however, the premise is flawed because
Sandia is a privately owned corporation, not a governmental agency. [Doc. 224 at 2 n.2]

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III.    STC’ S M OTION TO R ECONSIDER THE C OURT ’ S S UMMARY J UDGMENT
        R ULING I S P ROCEDURALLY I MPROPER AND S UBSTANTIVELY M ERITLESS

        Finally, STC moves (at 9) for reconsideration of the Court’s decision that UNM and STC

had sole ownership of the ’998 patent until December 2011. With the benefit of another month’s

reflection, STC has hatched a new theory of why it has always shared ownership in the ’998

patent—this time because DOE supposedly took title to the claimed invention under the Atomic

Energy Act and then granted title to Sandia and UNM jointly in the mid-1990s. That argument is

both procedurally barred and substantively wrong.

        A.     STC’s New Legal Argument Improperly Relies on Evidence that Was
               Available Before Summary Judgment Was Sought or Granted

        This Court has recognized that motions for reconsideration are appropriate only in limited

circumstances. Motions for reconsideration are appropriate to address intervening changes in

controlling law, new evidence previously unavailable, and clear errors or manifest injustices.

J.M. v. N.M. Dep’t of Health, No. Civ. 07–0604 RB/ACT, at 3 (Mar. 5, 2009). Reconsideration

motions are “‘not appropriate to revisit issues already addressed or advance arguments that could

have been raised in prior briefing.’” Id. (emphasis added) (quoting Servants of Paraclete v. Does,

204 F.3d 1005, 1012 (10th Cir. 2000)). Thus, reconsideration is not warranted where the motion

merely advances arguments or facts that were available at the time of the original motion.

        Here, STC raises a new legal argument, but both that argument and the facts on which it

is based were available when the parties briefed Intel’s summary judgment motion. STC’s “new

evidence” comes from a declaration of Sandia’s Kevin Bieg. But Mr. Bieg is not a new witness,

and his June 6, 2012, declaration does not address facts that have arisen since Intel’s motion.

Mr. Bieg testified as Sandia’s Rule 30(b)(6) witness last fall, and at his deposition he discussed


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the very statute, 42 U.S.C. § 5908, on which STC now relies. [See Ferrall Decl. Ex. 2 (11/17/11

Tr.) at 25–26] STC had the opportunity to question Mr. Bieg then, and it could have obtained a

declaration that contained every fact set forth in his recent declaration before the Court’s ruling.

       Simply put, STC has no excuse for failing to advance its new theory in a timely fashion.

Summary judgment was properly entered on the arguments and evidence timely presented, and

STC is not entitled to relitigate the issue now.

       B.      Federal Retention-of-Title Rules Are Irrelevant Because
               No Sandia Employee Was an Inventor of the ’998 Patent

       Aside from its procedural defects, STC’s new theory of Sandia ownership has not

substantive merit. STC previously argued that Sandia shared title in the ’998 patent because

Bruce Draper assigned to UNM, and UNM assigned to Sandia, interests in the invention that

became the ’321 patent. This Court properly rejected that argument. As the Supreme Court has

stressed, patent ownership rights derive from inventorship, and Mr. Draper had no ownership

rights in the ’998 patent because he was not an inventor of the invention claimed in that patent.

[Doc. 206 at 9–15] STC’s new argument is that DOE automatically took title to the invention

claimed in the ’998 patent and granted title to Sandia and UNM at their request. But the flaw in

that theory is the same as the Court recognized previously: although Mr. Draper was an inventor

on the ’321 patent, he was not (as even STC concedes, at 6) an inventor on the ’998 patent.

       Federal retention-of-title rules apply only when an employee of a federal entity has made

an invention. In particular, 42 U.S.C. § 5908 applies when “any invention is made or conceived

in the course of or under any contract of the Secretary, other than nuclear energy research,

development, and demonstration pursuant to the Atomic Energy Act of 1954” (emphasis added).

Here, no Sandia employee made an inventive contribution to the ’998 patent. Contrary to STC’s

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suggestion (at 9), the Atomic Energy Act cannot “trump” when it does not even apply.

       Nor does Mr. Bieg’s declaration support STC’s claim. He agrees that the statute “gives

the Government title to inventions made or conceived in the course of or under Sandia’s contract

with DOE ….” [Doc. 218–2 ¶ 8] But inventions by UNM employees alone are not inventions

made or conceived under Sandia’s contract with DOE. Indeed, although Mr. Bieg states that

DOE granted Sandia’s request to retain title to “the invention claimed [in] the ’321 patent” [id.],

he does not say that DOE’s waiver of title applied to the ’998 patent. In fact, the document he

attaches confirms that Sandia elected to take title only to the invention to which Mr. Draper

contributed—the invention of the ’321 patent. [Id. at 12–17 of 23 (naming Draper as inventor)]

Sandia agrees that Mr. Bieg’s declaration does not address the ’998 patent. [Doc. 224 at 9–10]

       At bottom, STC is engaging in the same blurring of inventions that the Court has already

seen through. STC is trying to argue that because a Sandia employee co-invented the ’321 patent,

the federal government had an ownership in the ’998 patent. That does not follow. Even if, as

STC contends, the ’998 patent was a continuation-in-part of the application that led to the ’321

patent, the Draper/Sandia contribution to the ’321 patent was not carried over to the ’998 patent.

Because no Sandia employee participated in the ’998 patent’s invention, Sandia had no rights in

the ’998 patent until STC (unilaterally, and for litigation reasons) assigned Sandia an interest in

December 2011. The Court’s ruling was entirely correct, and reconsideration should be denied.

                                            Conclusion

       STC’s motion should be denied in its entirety. Instead, as explained in Intel’s cross-

motion, the Court should dismiss STC’s remaining claims (for infringement after December 1,

2011) for lack of standing and put an end to a case that STC never should have filed.


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Dated: July 10, 2012.             Respectfully submitted,
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                                      Certificate of Service

        The undersigned hereby certifies that on July 10, 2012, the foregoing document was

electronically filed with the Clerk of Court using the CM/ECF system, which will automatically

send notification of such filing to all counsel who have entered an appearance in this action.


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